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                         Exhibit A
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Plaintiff’s Claim Construction
               Hearing Tutorial
                         Infinity Computer Products, Inc. v. Oki Data Americas, Inc.
                                                                Submitted December 21, 2018




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                                            Outline

• Problems with the Prior Art
• Multifunction Devices
• The Field on the Invention
• The Patents-in-Suit
• Communication Protocols, etc.


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                        “Multifunction Devices”

• A multifunction device is a hardware device that provides the features of
  scanning, printing, and faxing documents. Copying may also be provided
• A “fax” is the core of a multifunction device, or “all-in-one”, as a fax “had it
  all,” i.e. printing + scanning + communications, e.g. phone/RJ11 + possibly
  other interfaces (RS-232 etc.)




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  Prior To Infinity – Single Function or Custom

• Prior to Infinity’s inventions, users often had multiple single function
  devices, leading to much greater expense and space requirements
• Multifunction device solutions prior to Infinity’s inventions were custom or
  one-off and required a translation box, specific configurations, or specific
  manufacturer communication software.
• Frustration for users and lack of ability to grow market for manufacturers –
  it doesn’t “just work”…



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          Prior To Infinity – No Common Comm.
                IBM PC               Compaq PC         Dell PC            HP PC        Apple Mac         Toshiba PC


  Works




Does not
work due to
hw , sw, or
hw+sw




                Epson Fax/All-in-1      IBM/All-in-1        HP/All-in-1           Toshiba Fax/All-in-1    Brother Fax/All-in-1


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                              Field of the Invention
•   Generally relates to what is now well known as multi-function printing, scanning
    and fax devices, commonly named Multi-Function Printers (MFP) or multifunction
    devices today
•   MFPs leverage the scan and print mechanisms needed for sending and receiving a
    fax to provide printing and scanning capabilities to a personal computer (PC), and
    thus reduce the need for separate devices for each function
•   To realize the full potential of reusing scanning and printing subsystems in MFPs,
    the subsystems must be integrated such that communication with them is
    effective and low-cost.
•   The Patents-in-Suit address the low-cost challenge via an efficient method of
    communication with fax machines that utilizes generic send/receive driver
    communications, thus allowing any PC to utilize any fax-machine to create an
    MFP without complexity, custom software, and the undue costs of additional
    custom interface boxes or plug-in-cards for processing
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                                       Infinity Patents
•   The Patents-in-Suit
     •   U.S. Patent No. 6,894,811 (the “’811 Patent”)
     •   U.S. Patent No. 7,489,423 (the “’423 Patent”)
     •   U.S. Patent No. 8,040,574 (the “’574 Patent”)
     •   U.S. Patent No. 8,294,915 (the “’915 Patent”)
•   The Patents-in-Suit have a priority date in 1994 and are all children of U.S. Patent
    No. 5,530,558 (the “’558 Patent)
•   The ’558 Patent is generally directed to enabling a conventional facsimile
    machine to communicate with a personal computer, and vice versa, over a
    communications link using generic send/receive driver communications software
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   Infinity Solved “Plug-n-Play” for All-In-One
• Infinity created a plug-n-play all-in-one (from a fax base, had all the
  precursor technologies)
• Large group (majority) of “fax” equipment works with a large group
  (majority) of PCs without significant costs or complexity to the end user.
• Accomplished via a collection of technologies
   1.   Fax/All-In-One with a standard interface (RJ-11->RS232->USB)
   2.   PC with same interface – creates the passive link
   3.   Layered software architecture – generic send/receive driver communications
        software
• Only together as taught by the Infinity Patents does one accomplish Plug-
  n-Play for All-In-One                                                                        8
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                                Infinity Plug-n-Play
          IBM PC               Compaq PC         Dell PC         HP PC        Apple Mac         Toshiba PC


Works




          Epson Fax/All-in-1      IBM Fax/All-in-1    HP Fax/All-in-1    Toshiba Fax/All-in-1    Brother Fax/All-in-1


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    What About Manufacturer Specific Drivers?
•   Don’t I install drivers from [HP, Epson, Lexmark…] when I plug in my “All-In-One”?
     •   Yes, many times one does especially to gain access to advanced or
         manufacturer specific features, e.g. delayed fax transmission or automated
         error analysis
     •   Some basic functionality is available without specific drivers depending on
         version of operating system, e.g. WinXP or later - generic printer, TWAIN
         scanner etc.
•   This is the power of the Infinity teachings – the layered software architecture
    allows such customization (manufacturer specific drivers) without breaking plug-
    n-play overall
     •   Sits on top of the generic send/receive driver communications software
     •   Adds functionality but does not break base/current capabilities and                      10

         communications
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                       Communication Protocols
• There are a wide variety of protocols (a set of rules) and interfaces used to
  facilitate communication between computing devices and computing
  devices and peripherals
• Some examples of these protocols include
   •   Recommended Standard 232 (“RS-232”)
   •   Universal Serial Bus (“USB”)
   •   IEEE 802.11 (“Wi-Fi”)
   •   Ethernet 802.3
   •   T.30 standard (“Group 3”)


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                Communication Protocol – RS-232

• The RS-232 protocol includes a well-known bidirectional serial interface
   for exchanging digital data dating back to 1962. RS-232 is a complete
   standard specifying electrical, functional, and mechanical characteristics to
   ensure compatibility between the host and peripheral systems.
• In RS-232 signaling low level on the interface (–3V to –15V) is defined as a
   logic 1 and a high level on the interface (+3V to +15V) is defined as a logic 0,
   see Id. It is understood that logic 0 and logic 1 refer to digital signals and
   data.
Application Note 83 Fundamentals of RS–232 Serial Communications by Dallas Semiconductor
ITU-T Recommendation V.24 (03/93)

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                                      Image Formats
•   At the time of the invention, it was well known that TIFF files could be used as a
    medium of interchange, digital data files, between PC applications and fax
    equipment and TIFF was used extensively in the imaging, document, and fax
    markets.
•   Standards other than TIFF were also used for the purposes of image transfers
    between the PC applications, peripheral drivers, and the communications device
    drivers, including:
     • TWAIN - defines both standard protocols, standard formats, and a standard
        multi-layer software architecture (layered driver approach) for scanning
        devices
     • PCL
     • Postscript
     • Windows Image Acquisition / Still Image Architecture (“WIA/STI”)
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                                            OSI Layer Model
•   The concept of driver layering–where a driver for a given device or service will build upon
    on another driver providing an interface to a device or service –was know at the time of the
    invention.
•   Within communications this often maps onto the ISO OSI 7-layer model of 1980
•   For an “Internet stack” TCP/IP (layers 3-4) are drivers and Ethernet, either 802.3 or 802.11,
    (layers 1-2) are typically another driver or set of drivers




                https://www.dummies.com/programming/networking/network-basics-tcpip-protocol-suite/   14
